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 1                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
 2     ___________________________________________________________

 3     United States of America,       ) Criminal Action
                                       ) No. 1:21-cr-00003-RCL-1
 4                        Plaintiff,   )
                                       ) Motion Hearing (via Zoom)
 5     vs.                             )
                                       )
 6     Jacob Anthony Chansley,         ) Washington, D.C.
                                       ) February 3, 2021
 7                        Defendant.   ) Time: 3:30 p.m.
       ___________________________________________________________
 8
                 Transcript of Motion Hearing (via Zoom)
 9                              Held Before
               The Honorable Royce C. Lamberth (via Zoom)
10       United States Senior Judge for the District of Columbia
       ____________________________________________________________
11
                              A P P E A R A N C E S
12
       For the Plaintiff:          Kimberly L. Paschall
13     (via Zoom)                  U.S. ATTORNEY'S OFFICE FOR THE
                                   DISTRICT OF COLUMBIA
14                                 555 Fourth Street, Northwest
                                   Washington, D.C. 20530
15
       For the Defendant:          Albert S. Watkins
16     (via Zoom)                  KODNER WATKINS, LC
                                   7733 Forsyth Boulevard, Suite 600
17                                 Clayton, Missouri 63105

18     Also Present (via Zoom):
                                   Chad Copeland
19                                 Eric Glover
                                   Stephanie Litos
20
       Also Present (via telephone):
21                             Andre Sidbury, Pretrial Services
                               Officer
22     ____________________________________________________________

23     Stenographic Official Court Reporter:
       (Via Zoom)              Nancy J. Meyer
24                             Registered Diplomate Reporter
                               Certified Realtime Reporter
25                             333 Constitution Avenue, Northwest
                               Washington, D.C. 20001
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 1                           P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:     Good afternoon, everyone.

 3     This Honorable Court is now in session.         The Honorable Judge

 4     Royce C. Lamberth is now presiding.

 5             Good afternoon.

 6                 THE COURT:    Good afternoon.

 7                 THE COURTROOM DEPUTY:     We are here for a motion

 8     hearing in Criminal 21-3, the United States of America v. Jacob

 9     Chansley.

10             Starting with counsel for the government, please

11     identify yourself for the record.

12                 MS. PASCHALL:    Good afternoon, Your Honor.       Kimberly

13     Paschall for the United States.

14                 THE COURTROOM DEPUTY:     Defense.

15                 MR. WATKINS:    Your Honor, Albert Watkins.        I'm here

16     with Kodner Watkins on behalf of the defendant, Jacob Chansley.

17                 THE COURT:    Okay.

18                 THE PRETRIAL SERVICES OFFICER:       Andre Sidbury for

19     pretrial services.

20                 THE COURT:    Okay.

21                 MR. COPELAND:    And good afternoon, Your Honor.       This

22     is Chad Copeland on behalf of the Department of Corrections.

23     Also with me is Stephanie Litos and DOC's general counsel

24     Eric Glover.

25                 THE COURT:    Okay.   I have a couple of questions first
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 1     for Mr. Watkins.     The -- I wanted to clarify the nature of your

 2     motion for sustenance.      You didn't cite any cases or other

 3     authorities in your motion.       What is the legal basis for the

 4     relief that you're seeking on that part of the motion?          You

 5     can't simply ask me to order the D.C. Department of Corrections

 6     to give Mr. Chansley food without making a legal claim.         You

 7     talk about how Mr. Chansley adheres to the religious practice

 8     of shamanism.

 9               Are you bringing a First Amendment religious liberty

10     challenge, or exactly what is your legal claim that you're

11     making?

12                  MR. WATKINS:   Well, it's three-part, Your Honor.        One

13     is that, indeed, there is a First Amendment issue here.         My

14     client is a -- a follower of the shaman faith.          The government

15     has been aware of that since the outset of his period of

16     custody in Phoenix.     The U.S. government, its Bureau of Prisons

17     was aware of it.     The Court addressed it at the arraignment --

18     or at the initial detention hearing.        The issue was reconciled,

19     and Mr. Chansley was directed to be provided organic food.

20               There was a transfer of the custody, physical custody,

21     of Mr. Chansley from Arizona to D.C.        He was turned over by the

22     U.S. Bureau of Prisons with transfer paperwork.          The transfer

23     paperwork specifically delineated the dietary issues that were

24     being addressed under the First Amendment issue.          The

25     Department of Corrections has different protocols in D.C. than
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 1     the U.S. Bureau of Prisons.

 2             There is also a physical component to this, a health

 3     issue, not unlike that which would be experienced by a

 4     diabetic.    I brought those to the Court's attention, albeit --

 5     and I'm still sitting here not armed with all that I need,

 6     Your Honor.    So I'm just being as forthcoming as I can with a

 7     couple of phone conversations that have been unmonitored and

 8     less-than-an-hour interaction by telephone with my client

 9     interrupted routinely by noises and things in the background.

10             We are in difficult times right now with COVID.         So I'm

11     not castigating the Department of Corrections, Bureau of

12     Prisons, the Department of Justice.        It is what it is.

13             In the meantime, I've got a client who has gone nine

14     days without food.     He's lost a great deal of weight.       I am

15     obviously charged with the duty of being his advocate, and I

16     truly wish my resources were being deployed for something other

17     than an issue which I thought had been resolved in this

18     Court -- well, in Phoenix by the magistrate during the

19     detention hearing.

20                 THE COURT:   Well, I notice you said in your papers

21     that the magistrate had done that.        I also noticed, though, in

22     the file that the magistrate said she had not ruled on that;

23     that that was something taken care of by the jail authorities;

24     that she had not issued a ruling on that.         So can you clarify

25     that for me?
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 1                  MR. WATKINS:    I wish I could, Your Honor.       I was not

 2     present in Phoenix.       I was not present remotely for that.      I

 3     was not a counsel of record at that time.

 4               And I -- I will be, again, forthcoming with the Court,

 5     as I always am.     I just don't know exactly what -- what was put

 6     out there by the Court.      I do know what I've read in the paper,

 7     and I -- or on the internet, and -- and I know and the world

 8     now knows that -- that the clarity that may be going into the

 9     internet may not be the clarity that one seeks.

10                  THE COURT:    To say the least.

11               All right.   Let me ask you a couple of specific

12     questions, and then I'll talk to the government.          Is

13     Mr. Chansley's request for organic food based on a religious

14     belief?

15                  MR. WATKINS:    Yes, Your Honor.    And I -- I tried my

16     level best to provide you with as much information that I was

17     able to credibly give to the Court about shamanism and the

18     nuances related to diet and what they put in their system.           I

19     do know that shamanism is recognized by -- by the government as

20     a faith.

21                  THE COURT:    Is his religious belief sincere?

22                  MR. WATKINS:    Your Honor, I believe not only is it

23     sincere, I believe the evidence demonstrates conclusively that

24     if a human being goes nine days without eating food that he is

25     doing so for a bona fide faith-based reason.
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 1                 THE COURT:   Does Mr. Chansley feel that the refusal

 2     to provide him organic food substantially burdens his religious

 3     beliefs?

 4                 MR. WATKINS:    Yes -- yes, Your Honor.      My client made

 5     it clear that while he did not oppose fasting, he absolutely

 6     was not in a position to be able to put into his body the --

 7     that which is deemed under shamanism to be impure and something

 8     that, in effect, sucks the life out of your body.          That's the

 9     best way I can put it without perhaps more study.

10                 THE COURT:   Okay.    Is the correction department's

11     refusal to provide Mr. Chansley with organic food coercing him

12     to abandon his religious beliefs?

13                 MR. WATKINS:    Well, it is -- it is forcing and

14     compelling him to choose between starvation, death, and

15     consuming something that is completely adverse to his long-held

16     faith.   To the extent that that constitutes a coercion to

17     deviate and depart from his faith, yes, Your Honor.

18                 THE COURT:   Now, I looked at what was --

19                 THE COURTROOM DEPUTY:     Your Honor, can I -- Your

20     Honor, I'm sorry.     I apologize.

21              Ms. Paschall, do you have co-counsel trying to

22     enter into this hearing by the name of Faith and Downs?

23                 MS. PASCHALL:    Not that -- not that I'm aware of.

24                 THE COURTROOM DEPUTY:     Okay.   Thank you.

25                 MS. PASCHALL:    Thank you.
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 1                THE COURT:    In the -- attached to something I saw,

 2     anyway, was the -- I guess maybe the government's opposition.

 3     Somewhere I saw the -- the actual request that Mr. Chansley had

 4     made.   What is the food that would -- would satisfy his request

 5     anyway?   Can you describe that for me?

 6                MR. WATKINS:     Your Honor, if I may, with -- with all

 7     deference to the Court's desire for information, is it possible

 8     for the purposes solely of this subject matter to address it

 9     directly with Mr. Chansley?       Again, because of communication

10     issues, it has been overwhelmingly cumbersome and not of value

11     to me on a communication front with Mr. Chansley to date, other

12     than to make sure I have the authority to act on his behalf.

13                THE COURT:    Okay.    Mr. Chansley, if you would briefly

14     describe -- don't get into a lot of issues, but just briefly

15     describe what is the organic food that would comply with your

16     religious interests here.

17                THE DEFENDANT:     Yes, Your Honor.     The organic food

18     that I consume has been labeled with a circular label that is

19     green and white in nature and it says USDA Organic.            And the

20     only way that corporations are able to receive that label is if

21     they undergo a review from an independent -- multiple

22     independent corporations that put the food into what is known

23     as a chromatograph, which basically picks apart anything and

24     everything on a molecular level and tells the people what

25     exactly is in the food.
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 1             And once they have identified that there's only organic

 2     substances -- no pesticides, no herbicides, no genetic

 3     modifications, no artificial ingredients, no preservatives or

 4     anything like that -- in the food are they then able to apply

 5     for the label, the organic label, the circular label that is

 6     green and white and says USDA Organic.         And then they have to

 7     pay $20,000 to keep that label on their food.

 8             For eight years, Your Honor, I have been eating only

 9     that food, and it has created a very delicate biochemical

10     balance in my body that affects my serotonin, it affects my

11     body chemistry.     It affects everything about my sleep, my

12     appetite, my mood, because serotonin regulates all of those

13     things, sir -- Your Honor.

14                THE COURT:    Okay.    That is -- that food can be

15     obtained at normal grocery stores, like a Safeway, or not?

16                THE DEFENDANT:     Yes, Your Honor.

17                MR. WATKINS:     Mr. Chansley, I -- I appreciate it.

18     Thank you very much.

19             Yes, Your Honor, this is readily and commercially

20     available at any grocery store, including those which are, you

21     know, located in the Foggy Bottom area of D.C., straight

22     through to where the shops stop as you head toward the Capitol.

23     They are readily available.

24                THE COURT:    Okay.    All right.    I think I understand

25     the questions then.
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 1              Mr. Copeland, let me ask you some questions.          First,

 2     give us the status of where we are in terms of -- of the

 3     application that was received by D.C. and -- and what the

 4     status of that is.

 5                 MR. COPELAND:    Yes, Your Honor.     DOC's Religious

 6     Services Office received the application for a strictly organic

 7     meal, and they were unable to find information through their

 8     research that confirmed that the tenets of shamanism require an

 9     exclusively organic diet, and so the request was denied.

10                 THE COURT:   Okay.

11                 MR. WATKINS:    Your Honor, on paragraph 13 -- or 12 of

12     my motion, I provided you with what I was able to garner.           And

13     I can say for the first time in my professional career I -- I

14     cited Wikipedia, Your Honor, in -- in a legal brief.

15              I'm having trouble finding and identifying a reliable

16     shaman advisor that's -- not to be at all disrespectful of the

17     faith.   It's just simply I don't know about it.         The best I

18     was able to discern is that, quite frankly, there is the

19     spiritual element of shamanism that really states, in essence,

20     that these unnatural chemicals become -- and I'm going to use

21     this terminology because that's how it was worded -- an object

22     intrusion onto his body that will cause serious injuries and

23     it -- it, in essence, eliminates the ability to have the

24     spiritual contact -- or compromises the ability to have the

25     spiritual contact with nature and the spirits of other
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 1     beings in nature by affecting the -- affecting how you

 2     spiritually conduct discourse with other spirits and other

 3     parts of nature.

 4               That's the best I can do, Your Honor.

 5                  THE COURT:   Does D.C. know the basis for why the

 6     authorities in Arizona found that it was based on a religious

 7     belief?

 8                  MR. COPELAND:   No, Your Honor, I'm not -- we're not

 9     aware of the -- of why the Court reasoned the way it did.

10                  THE COURT:   I don't know that the Court did.

11     Apparently the jail did -- or the Bureau of Prisons.            I don't

12     know.

13                  MR. COPELAND:   Yeah, we're not aware, Your Honor, of

14     how they went about it.

15                  THE COURT:   So it -- it's -- your position is that

16     the defendant has the burden of proving that it's a religious

17     tenet?

18                  MR. COPELAND:   Correct, Your Honor.      The defendant

19     has the burden, the threshold burden, to prove that the

20     consumption of an exclusively organic diet is an exercise of

21     his religion or a tenet of his religion.         And we don't think

22     that that has been established.

23               First of all, the Wikipedia article that Mr. Watkins

24     cited to does not reference an exclusively organic diet.           As we

25     said, the Office of Religious Services did not find any
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 1     information that would confirm that is a tenet of shamanism.

 2     And we have found no case that links an exclusively organic

 3     diet to being an exercise or tenet or otherwise to shamanism

 4     generally.

 5                  THE COURT:   Okay.   Can you give the Court any other

 6     examples of inmate requests for dietary requirements based on

 7     religious beliefs that the Department of Corrections has denied

 8     for lack of religious merit, as -- as you've done here?

 9                  MR. COPELAND:   I don't have any.

10                  THE COURT:   You look at something and decide it's not

11     a religious belief, as you're doing here.         Are there other

12     cases where that's happened?

13                  MR. COPELAND:   I'm not aware of any, Your Honor.

14             I would like to clarify that.        The District and DOC do

15     not dispute Mr. -- the defendant's religious beliefs.           We're

16     not calling into question whether or not he -- he practices

17     shamanism.    It's that we have found no evidence that the

18     consumption of an exclusively organic diet is a tenet of that

19     religion, which is the quandary we're in.

20             And under -- under RFRA, under RLUIPA, the

21     First Amendment analysis, I believe that's a threshold

22     question, but even if -- but even if it was, the law makes

23     clear that prison officials have a legitimate penological

24     interest in maintaining a simple food service, and there are

25     financial and administrative burdens here on DOC that would
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 1     carry in that kind of analysis.

 2               DOC does not have a discretionary food fund to go out

 3     and buy separate meals for residents.         It's all done through

 4     contracts, and none of those contracts have a meal plan that is

 5     an exclusively organic meal.       So DOC would have to modify its

 6     contract with its food vendor, and then it would separately

 7     have to go -- because -- because the defendant is a federal

 8     inmate, it then has to renegotiate its -- its contract with the

 9     marshals service who reimburses DOC for the -- for meals to a

10     federal prisoner.     And so it's our position that that's too

11     much of a cost to the prison and not enough burden on the

12     religious belief to grant relief here.         And I would cite to a

13     case called Cotton v. Cate out of the Ninth Circuit and --

14     as -- as a basis for the analysis.

15                  THE COURT:   What does that cite say?

16                  MR. COPELAND:   It says, basically, it acknowledges

17     the prison officials have a legitimate penological interest in

18     maintaining a simple food service, and it conducts the analysis

19     on whether to grant an organic food meal -- exclusively organic

20     food meal to a resident who practiced a -- a Theodish religious

21     belief.    And the Court ultimately concluded those burdens --

22     administrative and financial burdens outweigh the -- the

23     religious practice.

24                  MR. WATKINS:    Your Honor, if -- if I may.        The --

25     that case does not grant the authority to the Department of
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 1     Corrections, the Bureau of Prisons, or anyone to compromise the

 2     integrity of the First Amendment rights of any individual

 3     simply because from a bureaucratic standpoint it is more

 4     expedient to not have to deal with the contractual interaction

 5     by the Department of Corrections with the Bureau of Prisons and

 6     perhaps, more importantly, within the context of shamanism.

 7               And, again, my -- I -- I take pride in my knowledge

 8     of -- of religions.      I am woefully deficient on shamanism, but

 9     I do know that one of the fundamental tenets of shamanism is

10     the absence of fundamental tenets.        By that I mean, it is a

11     religion, a faith that actually transcends boundaries, is found

12     all over the world, from the Far East straight through to the

13     shores of North America.       It is predominantly, primarily linked

14     to indigenous peoples.      However, it has grown and broadened in

15     the scope of its practitioners to include those who embrace the

16     faith.    And it is a faith that is not one which is premised on

17     an administrative hierarchy or a bureaucratic infrastructure

18     that one might commonly associate with the Roman Catholic

19     church.

20               We have the Department of Corrections, which is working

21     like a yeoman, trying to accommodate a full house right now

22     during COVID times.      Very difficult.     It's recognized as being

23     difficult.    My client is a shaman who's presenting as somebody

24     who comes from the custody of the Bureau of Prisons with an

25     established -- established diet that was deemed appropriately
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 1     linked to his faith by the Bureau of Prisons.          And I don't

 2     believe the Department of Corrections is appropriately shifting

 3     the burden back to my client all of a sudden to prove up the

 4     fundamental tenets and -- and core infrastructure of a

 5     recognized -- a U.S. government-recognized faith to serve as a

 6     basis for the wholesale denial of the -- the preexisting

 7     determination that organic food delivery is inappropriate.

 8                  THE COURT:   Well, I -- I have to say, I assume,

 9     Mr. Copeland, that what you just said wouldn't apply to Muslim

10     or to Jewish prisoners or others.        So those recognized

11     religions like that are going to have different diets; right?

12                  MR. COPELAND:   That's correct, Your Honor.        They

13     have --

14                  THE COURT:   Because shamanism has not been

15     recognized, is that why you're questioning it here?

16                  MR. COPELAND:   No.   And I don't contend that

17     shamanism is an unrecognized religion.         Certainly courts have

18     recognized it as -- as a religion.        What I'm saying is that

19     from the research that we were able to do from the information

20     that we have been provided is that there is -- there is not --

21     we do not yet have a basis to understand, other than the

22     contention of the defendant himself, that consumption of an

23     organic -- exclusively organic meal is a religious belief, is a

24     religious tenet.

25               In fact, as Mr. Watkins just said, this is a religion
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 1     that seems to have no tenets, which would -- in our

 2     perspective, it further supports the notion that -- that --

 3     that this -- that the tying it to the religion, as an exercise

 4     of religion, it is -- he hasn't carried his burden on -- on

 5     that front.

 6             And, Your Honor, I need to clarify for Your Honor.        I

 7     apologize.    I cited to the wrong case, whatever I said earlier.

 8     It's not Cotton v. Cate.       It's a case called Rust v. Nebraska

 9     Department of Corrections out -- out of -- and so I apologize

10     for citing to the wrong case.

11                  THE COURT:   And what does that case say?

12                  MR. COPELAND:   That's the case that spoke to the

13     Theodish belief that required an all organic -- exclusively

14     organic meal, and that the Court concluded that the plaintiffs

15     haven't shown that the administrative and financial burdens

16     associated with accommodating that religious belief posed --

17     put a burden on their religious exercise in their denial of

18     feeding him an exclusively organic meal.         Basically found for

19     the Department of Corrections.

20                  MR. WATKINS:    Your Honor, that -- that was a case

21     that cited the case that he did cite to begin with, and it --

22     it does not -- it does not apply to this case because it has to

23     do with a religion that does have tenets and guidelines and

24     fundamental -- fundamental codification of those -- of those

25     tenets that did not include organic food, you know, much like
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 1     the Catholic faith, by way of example.

 2                 THE COURT:    So the basis for D.C. acting is what;

 3     that you don't believe the religion requires it, but you don't

 4     question whether he is sincere, or what -- what is the basis

 5     for D.C.'s action?

 6                 MR. COPELAND:    The basis is that it's twofold.

 7     First, it is that the defendant has not established that an

 8     exclusively organic diet is an exercise of his shamanism, and,

 9     secondly, that even if it is, that the -- that the DOC's

10     legitimate interest in maintaining a simple food service and --

11     specifically accounting for the financial and administrative

12     hurdles it has to undertake to provide an exclusively organic

13     diet outweigh the religious belief, if the Court finds it to be

14     one.

15                 MR. WATKINS:    Your Honor, the second reason does

16     not -- is not supported by law.        The first reason is -- is,

17     again, not -- not germane to the facts here.

18             We have a man who is a shaman.        Neither the Department

19     of Corrections nor the defendant obviously disagree with the --

20     with the embracing of the faith by -- the genuine embracing of

21     the faith of shamanism by the defendant.         And, moreover, we

22     have a -- just factually, we have genuine support of the

23     proposition that my client's faith has dictated his

24     nonconsumption of food for a period of nine-plus days now.

25             And, you know, I -- I do have the alternative prayer for
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 1     relief.    I don't want to go there unless the Court wants to go

 2     there.    I'd be delighted to have my client released, but the

 3     fact of the matter is just on the food and dietary issue

 4     itself, this is not something that's brand-new, that's all of a

 5     sudden erupted.     This is something that has been addressed by

 6     the Bureau of Prisons.

 7               We do have a disconnect between the Bureau of Prisons,

 8     its finding, its decision, whether it was judicially suggested

 9     or decided by the Bureau of Prisons, that this disconnect

10     when -- when there is a transport of a prisoner into the

11     custody of the Department of Corrections, I don't believe the

12     Department of Corrections has the ability, the authority, much

13     less the discretion, to simply say to the Bureau of Prisons:

14     No.   I'm sorry.    We're not going to handle your prisoner that

15     way because it doesn't work for us bureaucratically and

16     administratively.

17                  THE COURT:   I understand the issues, and the -- the

18     Court will issue an order that his religious diet requests be

19     granted.    I'll issue written findings and conclusions

20     supporting that determination later this afternoon or -- or

21     early this evening, but I think that the Court is satisfied

22     with the prior decision made by the prison authorities in

23     Arizona; that there has not been a justification to change that

24     determination to my satisfaction, and I think it should be

25     adhered to.    And I think his prior diet requests should be
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 1     honored here as well.      So I'll issue an order to that effect.

 2             Now, I know -- in the other part of your motion is a

 3     motion for pretrial release.       At the time when we were here

 4     Friday, you had indicated, Mr. Watkins, that -- I guess the

 5     only -- the only thing that changed from the time the

 6     magistrate issued her ruling was that the inauguration

 7     occurred, and you were looking at whether you might be able to

 8     get the government to go along with the pretrial release under

 9     some conditions once the government had more information and

10     was able to look at more things about your client and -- and

11     what he had actually done and not done --

12                 MR. WATKINS:    If I may, Your Honor.

13                 (Indiscernible simultaneous cross-talk.)

14                 THE COURT:    -- the -- the circumstances changed

15     enough that you really want to go forward with that, if I issue

16     this order that I'm talking about now.

17                 MR. WATKINS:    No, Your Honor.     If I may.       I'll make

18     it very clear for the Court.

19             The motion that we had for pretrial release was an

20     alternative motion within the context of a motion seeking food

21     for my client.

22             I am still continuing a dialogue with the government.

23     We're still working in a collaborative fashion, and I don't

24     think it's appropriate right now for us to -- to address the

25     motion for pretrial release until I've had an opportunity to
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 1     have a -- more dialogue with -- with the government, which in

 2     turn requires as a condition preceding my -- my dialogue with

 3     my client, which I believe has been remedied

 4     through undertakings with the Department of Corrections; that

 5     again, they -- they've worked really hard under difficult

 6     circumstances.     I'm very, very grateful for the -- for the

 7     work, effort, and time they have put into it.

 8             But for the Court's purposes today, the -- the ruling

 9     that you have made precludes the need to address and,

10     therefore, we will withdraw the portion relating to a pursuit

11     of pretrial release.

12                 THE COURT:    Okay.   That's perfect.

13             All right.    Anything further the government wants to do?

14                 MS. PASCHALL:    No, Your Honor.     Thank you.

15                 THE COURT:    Okay.   Thank you very much, Counsel.

16     I'll issue an order promptly so we can get that carried out.

17     The Court will be in recess.

18                 (The proceedings concluded at 4:01 p.m.)

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 1                  CERTIFICATE OF OFFICIAL COURT REPORTER

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 3                I, Nancy J. Meyer, Registered Diplomate Reporter,

 4     Certified Realtime Reporter, do hereby certify that the above

 5     and foregoing constitutes a true and accurate transcript of my

 6     stenograph notes and is a full, true, and complete transcript

 7     of the proceedings to the best of my ability.

 8

 9                            Dated this 4th day of February, 2021.

10

11                            /s/ Nancy J. Meyer
                              Nancy J. Meyer
12                            Official Court Reporter
                              Registered Diplomate Reporter
13                            Certified Realtime Reporter
                              333 Constitution Avenue Northwest, Room 6509
14                            Washington, D.C. 20001

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